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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

   Case No.     CV 15-7118-DMG (RAOx)                                      Date     November 2, 2017

   Title Yadir A. Ontiveros v. Safelite Fulfillment, Inc., et al.                         Page     1 of 1

   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                KANE TIEN                                                 NOT REPORTED
                Deputy Clerk                                               Court Reporter

      Attorneys Present for Plaintiff(s)                          Attorneys Present for Defendant(s)
               None Present                                                 None Present

   Proceedings: IN CHAMBERS - ORDER RE JOINT STATEMENT RE CLASS NOTICE
                AND CURATIVE NOTICE [101]

           On October 16, 2017, the Court issued an Order that, among other things, required:
   (1) Defendant Safelite Fulfillment, Inc. to send a curative notice to all employees informing them
   that the Court had invalidated the releases that Safelite obtained from putative class members,
   and (2) the parties to meet and confer and submit to the Court a proposed class notice for the six
   classes that the Court had certified. [Doc. # 99.] On October 27, 2017, the parties filed a joint
   statement that indicated that they have several disagreements regarding the contents of the
   proposed curative and class notices. [Doc. # 101.]

           The Court has reviewed the parties’ joint statement, and APPROVES the curative and
   class notices that are attached to this Order. Furthermore, the Court ORDERS Safelite to send
   the attached class and curative notices to all current and former employees to whom Safelite sent
   settlement agreements in this case within 15 days of the date of this Order.

          The Court further ORDERS the parties to meet and confer on the logistical matters
   regarding the class notice, including the selection of the third-party administrator that shall
   disseminate the class notice, and the extent to which Plaintiff shall be responsible, if at all, for
   paying the costs of the third-party administration services (subject to Plaintiff’s ability to recover
   such costs in this action as a prevailing party). The parties shall submit a joint statement
   concerning that meet-and-confer by no later than November 12, 2017.

   IT IS SO ORDERED.




   CV-90                               CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
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                                          [TODAY’S DATE]

      VIA U.S. MAIL
      [Name & Address Information]
      IMPORTANT: A FEDERAL JUDGE HAS ORDERED THAT THIS NOTICE BE
      SENT TO YOU

      Re:    Yadir A. Ontiveros v. Safelite Fulfillment, Inc.
             Class and Representative Action Lawsuit
             United States District Court, Central District of California
             Case No. CV 15-07118-DMG (RAOx), assigned to Honorable Dolly M. Gee,
             United States District Judge

      Dear [Mr./Ms. INSERT CONTACT]:

              A proposed settlement agreement was sent to you in August 2017 by Safelite
      offering to settle claims asserted in the above-referenced lawsuit. On October 16, 2017,
      the United States District Court for the Central District of California ruled that the release
      of claims contained in the settlement agreement is invalid because you were not provided
      with sufficient information about the pending lawsuit.

              If you have not cashed the settlement check that accompanied the settlement
      agreement, Safelite’s offered settlement agreement is revoked. You should destroy and
      not cash any check in your possession. Even if you have already cashed a settlement
      check, you have not given up your right to pursue the claims at issue in this case and it
      will not impact your ability to participate in the above-referenced lawsuit.

              Because you are a member of a class certified by the Court, you will receive a
      separate “Notice of Class Action” from the Court explaining your right to participate in
      or to opt out of the lawsuit. The Court has certified Plaintiff’s class action as to six
      classes of employees, and you are a member of one or more of those classes. As
      explained in the Class Notice, the Court has already ruled in Plaintiff’s favor as to several
      of the issues in this class action.

              Should you have any questions about this class action lawsuit, or should you wish
      to review any of the pleadings or other documents in this case (including the Order that
      invalidated the release of claims in the settlement agreement), you can contact Class
      Counsel, which is Haines Law Group, APC. The contact information for Haines Law
      Group, APC, the attorneys representing the classes of Safelite employees, is below:
                                  HAINES LAW GROUP, APC
                                         Paul K. Haines, Esq.
                                Email: phaines@haineslawgroup.com
                                        Tuvia Korobkin, Esq.
                               Email: tkorobkin@haineslawgroup.com
                                        Sean M. Blakely, Esq.
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                             Email: sblakely@haineslawgroup.com
                                   Fletcher W. Schmidt, Esq.
                             Email: fschmidt@haineslawgroup.com
                                     2274 East Maple Ave.
                                El Segundo, California 90245
                                      Tel: (424) 292-2350
                                       Fax: (424) 292-2355

      For further information about this class action lawsuit, please carefully review the
      “Notice of Class Action” that is enclosed with this letter.
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                     UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA


   YADIR A. ONTIVEROS, as an                      Case No.: CV 07-118-DMG(RAOx)
   individual, and on behalf of all others
   similarly situated,
                                                  Judge: Hon. Dolly M. Gee
                         Plaintiff,
        vs.
   SAFELITE FULFILLMENT, INC., a                  NOTICE OF CLASS ACTION
   Delaware Corporation; SAFELITE
   GROUP, INC., a Delaware Corporation;
   SAFELITE GLASS CORP., a Delaware
   Corporation; and DOES 1 through 10,


                      Defendants.


      IMPORTANT NOTIFICATION TO POTENTIAL CLASS MEMBERS.
            THIS NOTICE INVOLVES YOUR LEGAL RIGHTS.

         A federal court authorized this notice. You are not being sued. This
         is not an ad. Your legal rights are affected whether you act or not.
         Because this Notice may affect your rights, please read it carefully.
   TO THE FOLLOWING SIX CLASSES OF EMPLOYEES:
       Class 1a (PPP Incentive Plan Class – Unpaid Rest Periods): All current
        and former non-exempt employees of Safelite who worked in California as a
        Technician, and who were paid pursuant to Safelite’s PPP Incentive Plan,
        during the time period September 9, 2011 through April 9, 2017.




                      Questions? Call [administrator’s toll-free number]
                                              1
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       Class 1c (PPP Incentive Plan Class – Wage Statements): All current and
        former non-exempt employees of Safelite who worked in California as a
        Technician, and who were paid pursuant to Safelite’s PPP Incentive Plan,
        during the time period September 9, 2014 through April 9, 2017.
       Class 2a (Wage Statement Class – Meal Period Premium): All current
        and former non-exempt employees of Safelite who worked in California, and
        were paid a meal period premium payment, during the time period
        September 9, 2014 to the present.
       Class 2b (Wage Statement Class – Installation Bonus): All current and
        former non-exempt employees of Safelite who worked in California, earned
        an Installation Bonus and worked overtime hours during the corresponding
        time period that the Installation Bonus was earned, during the time period
        September 9, 2014 to the present.
       Class 3a (Unpaid Overtime Class – Artificial Dilution of Regular Rate):
        All current and former non-exempt employees of Safelite who worked in
        California, and who in the same time period: (i) were paid a meal period
        premium payment as “regular” hours worked; and (ii) earned any form of
        incentive pay; and (iii) worked overtime hours, during the time period
        September 9, 2011 to the present (but limited to the time period of June 4,
        2013 to the present for those individuals who worked as Technicians or
        Windshield Repair Specialists).
       Class 3b (Unpaid Overtime Class – Underpaid Double-time Premium):
        All current and former non-exempt employees of Safelite who worked in
        California, and who in the same time period: (i) earned any form of
        incentive pay; and (ii) worked double-time hours, during the time period
        September 9, 2011 to the present (but limited to the time period of June 4,
        2013 to the present for those individuals who worked as Technicians or
        Windshield Repair Specialists).




                    Questions? Call [administrator’s toll-free number]
                                            2
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   1.    Why Should I Read this Notice?
          The purpose of this Notice is to inform you of a pending class action lawsuit
   brought by Yadir Ontiveros against Safelite Fulfillment Inc. (“Safelite”), alleging
   violations of California’s labor laws. You are receiving this Notice because you have
   been identified as a member of at least one class certified by the Court. The Court
   has ordered that this Notice be sent to you so that you can be fully informed about
   the lawsuit and your rights and options in connection with it. Please read carefully,
   as your rights may be affected by the disposition of the lawsuit.


   2.    What Is The Lawsuit About?

         Plaintiff in this case, Yadir A. Ontiveros, who has worked for Safelite as a
   Technician, sued Safelite on behalf of himself and all other non-exempt employees
   who have worked for Safelite in California during the time periods identified above.
   Ontiveros alleges that Safelite violated California law by failing to separately
   compensate non-exempt employees who were employed as Technicians for rest
   periods, while working pursuant to Safelite’s “Performance Pay Plan for
   Technicians” (the “PPP Incentive Plan”). Plaintiff further alleges that Safelite issued
   non-compliant wage statements and in certain circumstances underpaid overtime and
   double-time wages to non-exempt employees.

   Specifically, Ontiveros contends that Safelite has unlawfully:

         (a)    Failed to separately compensate Technicians for rest periods for
                workweeks that the Technicians were “in the PPP incentive.”

         (b)    Failed to issue compliant wage statements to Technicians paid on the
                PPP Incentive Plan, which accurately reflect the number of piece-rate
                units and applicable piece-rates for each unit produced.

         (c)    Reported meal period premium payments to non-exempt employees as
                regular working hours on wage statements, which resulted in an
                overstatement of the actual number of hours worked.



                      Questions? Call [administrator’s toll-free number]
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         (d)    For wage statements where Installation Bonuses were paid, failed to
                identify: (i) the total amount of overtime wages, (ii) applicable overtime
                rate(s) of pay, (iii) or total hours associated with the payment of
                Installation Bonuses.

         (e)    Paid Labor Code section 226.7 meal period penalties as “regular” hours
                on wage statement of its non-exempt employees, thereby causing the
                number of “regular” hours to be overstated in any workweek in which
                an employee earned a meal period penalty, resulting in a lower regular
                rate of pay, and in turn, underpayment of overtime wages.

         (f)    Calculated the additional double-time wages that are owed when non-
                exempt employees earned incentive pay by using a 0.5x overtime
                multiplier, instead of a 1.0x double-time multiplier, resulting in a
                systematic underpayment of double-time wages.

          The Court has already ruled in Plaintiff’s favor on a Motion for Partial
   Summary Judgment as to issues (a), (b), (d)(i), and (d)(ii). Specifically, on February
   7, 2017, the Court ruled: (1) the PPP Incentive Plan does not ensure that an employee
   will receive minimum wage for each additional hour worked; (2) the PPP Incentive
   Plan does not ensure that employees will receive overtime pay; (3) the PPP Incentive
   Plan does not ensure that employees will be separately compensated for rest periods;
   (4) Plaintiff is entitled to penalties under Cal. Lab. Code § 226(e)(1) for each wage
   statement issued during the time when he was enrolled in the PPP Incentive Plan that
   failed to include the required piece rate information; and (5) Plaintiff is entitled to
   penalties under section 226(e)(1) for each wage statement issued during the time he
   was enrolled in the installation bonus program that failed to indicate the effect of the
   bonus program on the regular rate. The Court confirmed the foregoing in a modified
   Partial Summary Judgment Order issued on October 12, 2017. Safelite has indicated
   to the Court its intention to appeal this decision at the earliest opportunity.

          As to the remaining issues identified above, the Court has not yet ruled on
   these issues Safelite denies these claims in their entirety and asserts that it has fully
   and fairly paid its employees in accordance with California law.



                      Questions? Call [administrator’s toll-free number]
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   3.    How Will the Case Be Litigated?

          This case may eventually proceed to trial. The trial date is currently set for
   May 22, 2018 at 8:30 a.m. in Courtroom 8C of the United States District Court for
   the Central District of California, located at 350 W. First Street, Los Angeles,
   California 90012. Please note that the trial date may change. Class members who
   are not called as witnesses are not required to attend the trial.

   4.    Your Right to Participate in the California Class Action

         If you take no action by [date 45 days after notice is mailed to last-known
   address], then you will be included as a class member in this lawsuit.

         If you are included as a class member, then you will be legally bound by all of
   the Orders the Court issues and judgments the Court makes in this class action.
   Whether favorable or unfavorable you will be bound by any judgment of the Court.

          If you do not exclude yourself from the lawsuit – which is called “opting-out”
   of the Class – as described in Paragraph 5, below, you will be represented by Plaintiff
   Ontiveros and Class Counsel. Class Counsel for Plaintiff and the Class are Paul K.
   Haines, Tuvia Korobkin, Fletcher W. Schmidt, and Sean M. Blakely of Haines Law
   Group, APC, 2274 East Maple Avenue, El Segundo, California 90245; telephone
   (424) 292-2350; email: phaines@haineslawgroup.com.

   5.    Your Right Not to Participate in the Litigation Against Safelite.

          You can choose to exclude yourself (“opt-out”) from and not join this lawsuit
   only by sending the enclosed Opt-Out Form clearly stating your intention to opt-out
   of this lawsuit, postmarked or date-stamped on or before [date 45 days after notice is
   mailed to last-known address], to CPT Group, Inc. at the following address:

         [CPT Group’s address to be included]

   If you do not timely opt-out of the Class, you will be bound by any future ruling,
   judgment, award, or settlement entered in this case, whether favorable or


                      Questions? Call [administrator’s toll-free number]
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   unfavorable. If you opt-out of this lawsuit, you will not receive any money or
   benefits from this case whatsoever, but you will be free to take action on your own,
   or with such private counsel as you may wish to retain.

   6.    Change of Address

           If this Notice was sent to the wrong address, or if your address changes in the
   future, please send prompt written notification of your correct address to CPT Group,
   Inc. at the address above in Section 5.

   7.    Examination of Papers

         All of the above descriptions of allegations, Court findings, and other
   matters in this lawsuit are only summaries and do not fully describe the case. The
   pleadings and other papers filed in this action are public records and are available
   online by going to the following website: http://www.pacer.gov/ and setting up an
   account to access court records. In the “Civil” tab, under California-Central, you
   will be prompted to enter the case number (15-07118). Alternatively, you can
   simply contact Class Counsel, Haines Law Group, APC (contact information is in
   Section 8, below), and any documents that you would like to review can be
   emailed or mailed to you free of charge.

   8.    Who Represents the Class?

         Plaintiff Yadir Ontiveros has been approved by the Court to act as
   the Class Representative. The following attorneys have been approved and
   appointed to act as the Class Counsel:


                            HAINES LAW GROUP, APC

        Paul K. Haines                             Tuvia Korobkin
        phaines@haineslawgroup.com                 tkorobkin@haineslawgroup.com
        Fletcher W. Schmidt                        Sean M. Blakely
        fschmidt@haineslawgroup.com                sblakely@haineslawgroup.com


                      Questions? Call [administrator’s toll-free number]
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                                 #:2396




       2274 East Maple Avenue                    Tel: 424-292-2350
       El Segundo, California 90245              Fax: 424-292-2355

 As a class member, you also have the option to enter an appearance through an
 attorney of your own choice. If you have any questions with respect to this action,
 you may direct such inquiries to Class Counsel.

 9.    Who Represents Safelite?

 The following attorneys represent Defendant Safelite Fulfillment, Inc.:

       Robert A. Harris                          Maria Z. Stearns
       raharris@vorys.com                        mstearns@rutan.com
       Daniel J. Clark                           Kenneth Zielinski
       djclark@vorys.com                         kzielinski@rutan.com
       Vorys, Sater, Seymour & Pease LLP         Tel: 714-338-1821
       52 E. Gay Street, P.O. Box 1008
       Tel. 614-464-6400

 10.    Contact With the Court

        This Notice and its content have been authorized by the Honorable Dolly M.
 Gee of the United States District Court for the Central District of California. This
 Notice should not be construed as advice from the Court regarding whether to
 participate or opt-out of the Class.

                  PLEASE DO NOT CONTACT THE COURT
                      REGARDING THIS MATTER.




                    Questions? Call [administrator’s toll-free number]
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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               Case No. 2:15-cv-07118-DMG-RAO
                                        OUT-OUT FORM
      ONLY RETURN IF YOU DO NOT WISH TO BE INCLUDED IN THE CLASS.


   THIS DOCUMENT MUST BE POSTMARKED NO LATER THAN [45 DAYS AFTER
              NOTICE IS MAILED TO LAST-KNOWN ADDRESS].

 If you DO NOT want to be included in the Class, you must complete this form and mail it to:

                      [CPT Group -- Vendor’s address to be included]

 The Court will exclude you from the Class if your request to be excluded is postmarked by
 _____.

 By my signature below, I confirm that I have received, read, and understood the notice of the
 Ontiveros v. Safelite Fulfillment, Inc. lawsuit. I have decided to exclude myself from the Class. I
 understand that by doing so, I will not receive any money or benefits from this lawsuit even if
 the Plaintiff obtains them as a result of a court ruling or from any settlement (that may or may
 not be reached).

 I DO NOT want to participate in this class action lawsuit.

 ___________________________                                  _____________________________
 Signature                                                    Printed Full Name

 _____________________________________________________________________________
 Mailing Address

 _____________
 Phone Number




                      Questions? Call [administrator’s toll-free number]
                                                  8
